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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ANTHONY FRANCHI, Individually
                             )
 and on Behalf of all Others Similarly
                             )
 Situated,                   )
                             )
           Plaintiff,        )
                             )
 v.                          ) CASE NO. 1:17-CV-3957-WSD
                             )
 NUMEREX CORP., STRATTON J.  )
 NICOLAIDES, TONY HOLCOMBE, ) CLASS ACTION
 SHERRIE G. MCAVOY, JERRY A. )
 ROSE, ANDREW RYAN, ERIC     )
 SINGER, BRIAN R. IGOE,      )
 SIERRRA WIRELESS, INC., and )
 WIRELESS ACQUISITION SUB,   )
 INC.,                       )
                             )
           Defendants.       )


                          NOTICE OF APPEARANCE

      Please take notice that Jessica P. Corley hereby enters her appearance as

counsel of record in the above-styled action for Defendants Numerex Corp., Stratton

J. Nicolaides, Tony Holcombe, Sherrie G. McAvoy, Jerry A. Rose, Andrew Ryan,

Eric Singer, and Brian R. Igoe. All future documents and communications directed

to these Defendants as parties to this action should be sent to:

             Jessica P. Corley
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                                          1
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Respectfully submitted this 2nd day of November, 2017.

                                     ALSTON & BIRD LLP

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                   LOCAL RULE 7.1D CERTIFICATION
      By signature below, counsel certifies that the foregoing document was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1B.



                                /s/ Jessica P. Corley
                                Jessica P. Corley
                                Georgia Bar No. 572733




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                         CERTIFICATE OF SERVICE
      I hereby certify that on this 2nd day November, 2017, I electronically filed

the foregoing NOTICE OF APPEARANCE with the Clerk of Court using the

CM/ECF system, which will automatically send notification of such filing upon

Counsel of Record.

                                             ALSTON & BIRD LLP

                                             /s/ Jessica P. Corley
                                             Jessica P. Corley
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